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                             cio.com                                          Tri Tower Telecom                                                                                    Nasdaq


                             Most Portland rioters have charges                                                                                                     Site     Web   Enter your search


                             DISMISSED by US Attorney: 58                                                                                                     ADVERTISEMENT




                             suspects of the 97 arrested have cases
                             scrapped, while 32 more are left
                             pending
                                   Charges have been dismissed against 58 of 97 people arrested during the unrest
                                   last year that lasted for more than 100 days between May and October
                                   A further 32 cases are still pending but 'will also likely be dismissed'
                                   Several hundred others who were facing charges brought by the district
                                   attorney also had them dropped

Case No. 1:21-cr-35-EGS            The majority were facing 'lesser charges' such as rioting and disorderly conduct

                             By JAMES GORDON FOR DAILYMAIL.COM
                             PUBLISHED: 02:29 EDT, 4 May 2021 | UPDATED: 03:56 EDT, 4 May 2021


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                             The majority of the people facing federal charges over last summer's protests in
                             Portland, Oregon will not be prosecuted or spend any time at all behind bars, it haas
                             been revealed.

                             Although 97 people were arrested and had charges filed against them in connection
                             to protests that took place between May and October of last year, 58 cases have
                             either been dismissed completely or will be scrapped under deferred resolution
                             agreements.                                                                                                                                   Follow                      Follow
                                                                                                                                                                           Daily Mail                  Daily Mail

                             A further 32 cases are also pending with many also likely to be dismissed, Fox News                                                           Follow                      Follow
                             reports.                                                                                                                                      @DailyMail                  Daily Mail

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                                                                                                                                                              FEMAIL TODAY
                                                                                                                                                                'It's been a tough
                                                                                                                                                               road': Christina
                                                                                                                                                               Applegate, 49, reveals
                                                                                                                                                               she has been diagnosed
                                                                                                                                                               with multiple sclerosis




                                                                                                                                                                Alfred Molina, 68,
                                                                                                                                                               sheds tears of joy as he
                                                                                                                                                               marries Frozen director
                                                                                                                                                               Jennifer Lee, 49... 16
                                                                                                                                                               months after his wife
                                                                                                                                                               Jill Gascoine died of
                                                                                                                                                               Alzheimer's aged 83


                                                                                                                                                                 'Y'ain't sticking me
                                                                                                                                                               with that needle': Tom
                                                                                                                                                               Hanks son Chet, 31,
                                                                                                                                                               launches into anti-
                                                                                                                                    Read More                  COVID vaccine rant on
                                                                                                                                                               Instagram
                                                                                                                                                               Controversial celebrity
                             Just seven people have entered guilty pleas, and just one is heading to prison having                                             son

                             been caught red-handed setting fire to the city's Justice Center.                                                                   Prince Harry and
                                                                                                                                                               Meghan Markle's
                                                                                                                                                               'conspicuous' absence
                             Edward Schinzing was caught on video setting fire to the building. He had his shirt                                               from Barack Obama's
                             off and, helpfully for police, had his name tattooed on his back.                                                                 60th birthday party is a
                                                                                                                                                               sign their 'special
                                                                                                                                                               relationship' is over,
                             Among those who have had charges dismissed are David Bouchard and Charles                                                         royal expert claims

                             Comfort, who were both accused of attacking law enforcement officers.
                                                                                                                                                                Kylie Jenner is 24! Her
                                                                                                                                                               mother Kris Jenner
                                                                                                                                                               posts gushing tribute to
                                                                                                                                                               'my littlest angel' as she
                                                                                                                                                               adds 'I am blessed to be
                                                                                                                                                               your mommy'



                                                                                                                                                                'I spent too much time
                                                                                                                                                               dieting and I neglected
                                                                                                                                                               my health': Beyonce
                                                                                                                                                               wows in a see-through
                                                                                                                                                               diamanté top as she
                                                                                                                                                               details pressures of
                                                                                                                                                               being a pop icon


                                                                                                                                                                 Thicker, healthier hair
                                                                                                                                                               in just one month:
                                                                                                                                                               KeraHealth tackles the
                                                                                                                                                               issue of thinning hair
                                                                                                                                                               from the inside out with
                                                                                                                                                               supplements AND hair
                                                                                                                                                               products
                                                                                                                                                               PROMOTED

                                                                                                                                                                Jamie Oliver's wife
                                                                                                                                                               Jools, 46, says she is
                                                                                                                                                  +13          considering IVF after
                                                                                                                                                               suffering five
                                                                                                                                                               heartbreaking
                             Charges have been dismissed against 58 of the 97 people arrested during the unrest last year                                      miscarriages
                                                                                                                                                               Has been married to the
                             that lasted for more than 100 days between May and October                                                                        Naked Chef for 21 years

                                                                                                                                                                 Bachelorette bling!
                                                                                                                                                               Katie Thurston receives
                                                                                                                                                               a three-carat diamond
                                                                                                                                                               Neil Lane engagement
                                                                                                                                                               ring 'worth $80K' from
                                                                                                                                                               Blake Moynes
                                                                                                                                                               Popped the question on
                                                                                                                                                               Monday's finale

                                                                                                                                                                 'It will RUIN the show':
                                                                                                                                                               Sex And The City fans
                                                                                                                                                               go into meltdown as
                                                                                                                                                               reboot cast film funeral
                                                                                                                                                               scenes - after insiders
                                                                                                                                                               claimed a MAJOR
                                                                                                                                                               character will die


                                                                                                                                                                 Brooke Shields lists 5-
                                                                                                                                                               bed, 5.5 bath 'rustic
                                                                                                                                                               chalet-style' home on
                                                                                                                                                               half an acre in West LA
                                                                                                                                                               for $8.195M




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                                                                                                                                                  +13

                             Black Lives Matter protesters gather at the Mark O. Hatfield United States Courthouse in
                             Portland, Oregon last year




                                                                                                                                                  +13

                             Edward Schinzing, 33, had his name tattooed on his back while video captured him setting fire
                             to the Justice Center building. The facility houses the Multnomah County jail and the Portland
                             Police Bureau headquarters
                                                                                                                                                                 Havaianas has cut the
                                                                                                                                                               price of several of its
                                                                                                                                                               most popular flip flop
                                                                                                                                                               colors and styles on
                                                                                                                                                               Amazon - so you can
                                                                                                                                                               now pick up a pair for
                                                                                                                                                               less than $20
                                                                                                                                                               PROMOTED

                                                                                                                                                                Charli XCX puts on a
                                                                                                                                                               sultry display in a
                                                                                                                                                               skimpy crocodile-print
                                                                                                                                                               bikini with bedazzled
                                                                                                                                                               details as she teases
                                                                                                                                                               new music



                                                                                                                                                                'I love my husband':
                                                                                                                                                               Notoriously private
                                                                                                                                                               Margot Robbie speaks
                                                                                                                                                               about the incredible
                                                                                                                                                               bond she shares with
                                                                                                                                                               her handsome hubby
                                                                                                                                                               Tom Ackerley


                                                                                  +13                                                             +13            Rebel Wilson, 41,
                                                                                                                                                               shows off her svelte
                                                                                                                                                               figure in a little black
                             Authorities were able to identify him through a comparison of his booking photo (left) and                                        dress as she sips on
                             photos from the scene (right) in which a distinctive tattoo of his last name across his upper                                     champagne in France
                             back was visible                                                                                                                  after her impressive
                                                                                                                                                               weight loss

                             The decision not to prosecute many of the accused rioters federally echoes the
                                                                                                                                                                 Judge in Danny
                             decision made last year by Portland's newly elected district attorney who stipulated                                              Masterson rape trial
                             under a new policy, his office would not prosecute people who have been arrested                                                  rejects his lawyers'
                                                                                                                                                               subpoena of Leah
                             since late May on non-violent misdemeanor charges.                                                                                Remini's anti-
                                                                                                                                                               Scientology TV outtakes
                                                                                                                                                               Starred on That 70s Show
                             The policy recognizes the outrage and frustration over a history of racial injustice
                             that led to more than 100 nights of sustained, often violent protest in Portland as                                                Demi Rose flaunts her
                                                                                                                                                               VERY ample assets
                             well as the more practical realities of the court system, which is running more than                                              while ditching her
                             several months behind in processing cases because of COVID-19.                                                                    underwear in a racy
                                                                                                                                                               cutout dress for
                                                                                                                                                               PrettyLittleThing
                             'The protesters are angry ... and deeply frustrated with what they perceive to be                                                 photoshoot
                             structural inequities in our basic social fabric. And this frustration can escalate to
                             levels that violate the law,' Multnomah County District Attorney Mike Schmidt said.                                                 Former Rich Kids Of
                                                                                                                                                               Beverly Hills star
                                                                                                                                                               Dorothy Wang stuns in
                                                                                                                                                               bandeau and biker
                                                                                                                                                               shorts as she heads to
                                                                                                                                                               dinner in LA... as she in
                                                                                                                                                               talks to join Bling
                                                                                                                                                               Empire


                                                                                                                                                                EXCLUSIVE     A look at
                                                                                                                                                               the luxury $6.5million
                                                                                                                                                               property Liam
                                                                                                                                                               Hemsworth is holed up
                                                                                                                                                               in with his model
                                                                                                                                                               girlfriend during
                                                                                                                                                               Australia's snap
                                                                                                                                                               lockdown


                                                                                                                                                                EXCLUSIVE      Harry
                                                                                                                                                               Styles and Olivia Wilde
                                                                                                                                                               pack on the PDA while
                                                                                                                                                               dressed in matching
                                                                                                                                                               outfits as they look
                                                                                                                                                               more in love than ever
                                                                                                                                                               during stroll in LA


                                                                                                                                                                 For ALL the showbiz
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                                                                                                                                                  +13
                                                                                                                                                               -69%                            -71%
                             Edward Thomas Schinzing, 33, was among a group of protesters who broke into the Justice
                             Center on May 29, 2020 (pictured) before vandalizing the space and setting fires




                                                                                                                                                  +13

                             People gather to protest in front of the Mark O. Hatfield federal courthouse in downtown
                             Portland in July 2020                                                                                                              Singer Griff lands a
                                                                                                                                                               spot in GQ's Global
                                                                                                                                                               Music Portfolio as she
                                                                                                                                                               gushes over receiving
                                                                                                                                                               praise from Taylor Swift




                                                                                                                                                                 Paul Walker's daughter
                                                                                                                                                               Meadow is ENGAGED!
                                                                                                                                                               Model, 22, flashes a
                                                                                                                                                               ring... one month after
                                                                                                                                                               confirming romance
                                                                                                                                                               with actor beau Louis
                                                                                                                                                               Thornton-Allan


                                                                                                                                                                 The Bachelorette
                                                                                                                                                               FINALE: Katie Thurston
                                                                                                                                                               picks Blake Moynes
                                                                                                                                                               over Justin Glaze in the
                                                                                                                                                               emotional Season 17
                                                                                                                                                               finale
                                                                                                                                                                He popped the question!


                                                                                                                                                                Greta Thunberg, 18,
                                                                                                                                                               accuses fashion brands
                                                                                                                                                               of being 'huge
                                                                                                                                                               contributor to climate-
                                                                                                                                                               emergency' - as she
                                                                                                                                                  +13          appears on inaugural
                                                                                                                                                               cover of Vogue
                             There were more than 100 nights of rioting last summer which saw protesters tear gassed and                                       Scandinavia
                                                                                                                                                               Vogue covergirl
                             fired upon with rubber bullets by the city's police force
                                                                                                                                                                 This cute and
                                                                                                                                                               comfortable tank dress
                             'This policy acknowledges that centuries of disparate treatment of our black and                                                  that's proving to be one
                             brown communities have left deep wounds and that the healing process will not be                                                  of the top fashion buys
                                                                                                                                                               on Amazon this summer
                             easy or quick.'                                                                                                                   is currently reduced to
                                                                                                                                                               just $31
                                                                                                                                                               PROMOTED
                             Portland Police Chief Chuck Lovell said people who commit violent acts or
                             intentionally damage property will still be held accountable.                                                                       It's never too early to
                                                                                                                                                               learn! Bindi Irwin's four-
                                                                                                                                                               month-old daughter
                             'Committing a crime is different from demonstrating,' Lovell said in a statement. 'The                                            Grace joins uncle
                                                                                                                                                               Robert for 'a big day of
                             arrests we make often come after hours of damage to private property, disruption of                                               catching crocs'
                             public transit and traffic on public streets, thefts from small businesses, arson,                                                Just like late grandpa
                                                                                                                                                               Steve Irwin
                             burglary, attacks on members of the community, and attacks against police
                                                                                                                                                                Welcome to the gun
                             officers.'                                                                                                                        show! Dwayne Johnson
                                                                                                                                                               puts his impressively
                                                                                                                                                               chiseled arms on
                                                                                                                                                               display while leaving a
                                                                                                                                                               workout session



                                                                                                                                                                 Conor McGregor hits
                                                                                                                                                               Rodeo Drive with his
                                                                                                                                                               fiancée Dee Devlin and
                                                                                                                                                               their children as family
                                                                                                                                                               enjoy lavish shopping
                                                                                                                                                               trip amid his broken leg
                                                                                                                                                               recovery


                                                                                                                                                                Bella Hadid shows off
                                                                                                                                                               her incredible figure in a
                                                                                                                                                               skimpy gold bikini and
                                                                                                                                                               mini skirt as she snaps
                                                                                                                                                               selfies while packing for
                                                                                                                                                               vacation



                                                                                                                                                                 Chrissy Teigen leaves
                                                                                                                                                               little to the imagination
                                                                                                                                                               in sheer mesh dress
                                                                                                                                                               with revealing
                                                                                                                                                               jumpsuit... amid news of
                                                                                                                                                  +13          her upcoming Fries
                                                                                                                                                               documentary
                             A protestor flips off federal police atop the perimeter barricade of the Mark O. Hatfield federal
                             courthouse, pictured last July                                                                                                   ADVERTISEMENT




                                                                                                                                                  +13

                             Portland was the epicenter of protests in 2020 with at least 200 nights of demonstrations, 30
                             nights of rioting and around 1,000 arrests. (File photo from July)




                                                                                                                                                                Nicole Kidman reveals
                                                                                                                                                               how her husband Keith
                                                                                                                                                               Urban really feels about
                                                                                                                                                               her intense sex scenes




                                                                                                                                                                 Kim Kardashian looks
                                                                                                                                                               edgy in all black as she
                                                                                                                                                               poses with fake
                                                                                                                                                               tattooed daughter North
                                                                                                                                                               and little Chicago in
                                                                                                                                                               snaps from ex Kanye
                                                                                                                                                               West's Donda listening
                                                                                                                                                               parties


                                                                                                                                                                 Jennifer Hudson
                                                                                                                                                               reveals details of her
                                                                                                                                                  +13          final phone call with
                                                                                                                                                               singing legend Aretha
                             Protestors face off with federal police amidst tear gas outside the Mark O. Hatfield federal                                      Franklin before her
                                                                                                                                                               death aged 76 after she
                             courthouse (File photo from July)                                                                                                 hand-picked her to play
                                                                                                                                                               her in biopic
                             Chad Wolf, the acting Secretary of Homeland Security under President Trump,
                             slammed the decision to dismiss charges against alleged rioters.                                                                    Didn't manage to
                                                                                                                                                               master at-home waxing
                                                                                                                                                               during lockdown?
                             'It's offensive to all the men and women who risked their lives in Portland for 90 to                                             These all-natural waxes
                                                                                                                                                               from Parissa promise to
                             120 days or even longer in some cases, being attacked night after night after night,'                                             gently and effectively
                             he told Fox News.                                                                                                                 remove hair
                                                                                                                                                               PROMOTED

                             'The prosecutors in that the U.S. Attorney's Office, the number of prosecutors, that                                                Michelle Williams
                                                                                                                                                               transforms into Steven
                             support, even the courthouse system, isn't really set up to handle those sorts of                                                 Spielberg's mother Leah
                             numbers,' said Former federal prosecutor Alex Little.                                                                             as she is seen on set for
                                                                                                                                                               the director's movie The
                                                                                                                                                               Fabelmans for the first
                             Lisa Hay, the federal public defender in Oregon, has a slightly different take on the                                             time with Paul Dano
                             high number of cases being dismissed.
                                                                                                                                                                 Courtney Stodden
                             'I think the federal government went overboard in some of the ways they addressed                                                 shows off their
                                                                                                                                                               hourglass figure in all-
                             these protests,' said Lisa Hay, a federal public defender in Oregon. 'What we're                                                  athleisure while
                                                                                                                                                               carrying their
                             seeing now is many of the cases that were brought because of the federal                                                          Pomeranian to the mall
                             government's overreach are now being dismissed.'                                                                                   Bullied by Chrissy Teigen


                                                                                                                                                                Zoe Saldana puts on a
                                 Protesters set Police Union building on fire in Portland                                                                      VERY cosy display with
                                                                                                                                                               husband Marco Perego
                                                                                                                                                               as the loved-up couple
                                                                                                                                                               share kisses during a


                                                                                                      f
                                                                                                                                                               sun-soaked lunch in
                                                                                                                     Watch the full video                      Portofino


                                                                                                                                                                 Hollywood bromance!
                                                                                                                                                               Ryan Reynolds reveals
                                                                                                                                                               'secret' movie dream
                                                                                                                                                               that involves A-list pal
                                                                                                                                                               Hugh Jackman
                                                                                                                                                               Pair poke fun at each
                                                                                                                                                               other on Instagram


                                                                                                                                                                 Safety first! Model
                                                                                                                                                               Alessandra Ambrosio
                                                                                                                                                               test drives her son
                                                                                                                                                               Noah's vintage mini
                                                                                                                                                               electric scooter in LA




                                                                                                                                                                 Harry Styles and Kid
                             w
                                                                                                                                                               Harpoon lead the
                                   A                                                                                                                           nominations for the Ivor

                                            f                  d                             jnhmki g t
                                                                                                                                                               Novello Awards with
                                                      A                 0:00 / 2:11
                                                                                                                                                               three nods as Lewis
                                                                                                                                                               Capaldi, Celeste and
                                                                                                                                                               Arlo Parks are also
                                                                                                                                                               recognised


                                                                                                                                                                 Netflix reveals 'largest
                                                                                                                                                               reality casting call
                                                                                                                                                               EVER' asking fans to
                                                                                                                                                               apply for The Circle,
                                                                                                                                                               Queer Eye and Love Is
                                                                                                                                                               Blind... as several hit
                                                                                                                                                               shows are renewed


                                                                                                                                                                 Bored of photography
                                                                                                                                                               Brooklyn? Beckham is
                                                                                                                                                               joined by dad David to
                                                                                                                                                               make mushroom risotto
                                                                                                                                                               in ANOTHER cookery
                                                                                                                                                               video... amid claims
                                                                                                                                                               he'll host online series


                                                                                                                                                                 Nicole Kidman was
                                                                                                                                                               'bats*** crazy' and
                                                                                                                                                               refused to answer to her
                                                                                                                                                               own name while filming
                                                                                                                                                               Nine Perfect Strangers

                                                                                                                                                  +13

                                                                                                                                                                Jason Sudeikis steps
                             Portland endured more than 100 nights of rioting during last summer's protest over racial                                         out in New York with
                             inequality and police brutality                                                                                                   daughter Daisy... while
                                                                                                                                                               ex Olivia Wilde and new
                                                                                                                                                               beau Harry Styles pack
                             Last summer's protests dominated the news in Portland for months following the                                                    on the PDA in LA
                             death of George Floyd, a black man who died after a white Minneapolis police officer
                             held a knee to his neck for nearly nine minutes.                                                                                   Chloe Sevigny takes it
                                                                                                                                                               easy as she sports a
                             Protesters were angry after the Portland police used tear gas repeatedly in the early                                             Ralph Lauren polo and
                                                                                                                                                               Adidas track pants
                             days of the protests.                                                                                                             while going for a walk


                             Demonstrations have at times attracted up to 10,000 people for peaceful marches
                             and rallies around the city. But some protesters have turned to violence that's been                                             ADVERTISEMENT
                             increasingly directed at the courthouse and other federal property with 27 riots
                             declared in the space of four months.                                                                                              1. BREAKING NEWS                                     ›

                             Some protesters threw bricks, rocks and other projectiles at officers, with police
                                                                                                                                                                2. WEATHER REPORT                                    ›
                             responding by firing tear gas and rubber bullets to disperse crowds.
                                                                                                                                                                3. FINANCE INVESTMENTS                               ›
                             At the time, the Trump administration sent federal agents to quell the unrest but the
                             deployment had the opposite effect, reinvigorating protesters who found a new
                                                                                                                                                                4. ONLINE GREETINGS                                  ›
                             rallying point in opposing the federal presence.

                             Mayor Ted Wheeler recently decried what he described as a segment of violent                                                       5. AFFORDABLE HOUSING                                ›
                             agitators who detract from the message of police accountability and should be                                                     Ad   | Business Focus
                             subject to more severe punishment.




                                                                                                                                                                 Pink wins gold after
                                                                                                                                                               competing with her ten-
                                                                                                                                                               year-old daughter
                                                                                                                                                               Willow in a 'Family
                                                                                                                                                               Olympics at home'
                                                                                                                                                  +13          Pink and daughter Willow
                                                                                                                                                               took part in a friendly
                                                                                                                                                               competition in honor of
                             A demonstrator waves a U.S. flag in front of federal agents after tear gas is deployed during a                                   the Tokyo Olympics
                             riot in Portland in July
                                                                                                                                                                 Prince Andrew has
                                                                                                                                                               repeatedly refused to
                                                                                                                                                               help US authorities with
                                 Portland protestors loot businesses and light huge fires to stores                                                            investigation despite
                                                                                                                                                               stating he would, say
                                                                                                                                                               documents as Virginia
                                                                                                                                                               Roberts sues him


                                                                                                      f              Watch the full video
                                                                                                                                                                 Billie Eilish performs
                                                                                                                                                               Happier Than Ever and
                                                                                                                                                               talks directing her own
                                                                                                                                                               music video and
                                                                                                                                                               synesthesia on The
                                                                                                                                                               Tonight Show Starring
                                                                                                                                                               Jimmy Fallon


                                                                                                                                                                 Jessica Alba and
                                                                                                                                                               daughter Haven stop by
                                                                                                                                                               Starbucks in Playa
                                                                                                                                                               Vista... ahead of the
                                                                                                                                                               little girl's 10th birthday




                                                                                                                                                                Kourtney Kardashian
                                                                                                                                                               pairs coat jacket and
                                                                                                                                                               silky dress with bovver
                                                                                                                                                               boots on date night with
                             w




                                   A                                                                                                                           Travis Barker in LA
                                            f         A        d        0:00 / 0:50
                                                                                             jnhmki g t
                                                                                                                                                                'Dropping tracks on
                                                                                                                                                               Friday': Cody Simpson
                             Share or comment on this article: 58 suspects of 97 arrested in Portland, Oregon                                                  puts his swimming
                                                                                                                                                               dreams on hold to tease
                             have cases scrapped, while 32 more are left pending                                                                               new music

                                                                                                                  473
                                                                                                                  shares
                                                                                                                                                                 Amanda Kloots runs
                                                                                                                                                               errands in LA in t-shirt
                                                                                                                                                               and athletic shorts after
                                                                                                                                                               revealing she's dating
                                                                                                                                                               again one year after
                                                                                                                                                               husband Nick Cordero's
                                                                                                                                                               death


                                                                                                                                                                 'I felt emotional!'
                                                                                                                                                               Killing Eve's Jodie
                                                                                                                                                               Comer discusses
                                                                                                                                                               filming the final series
                                                                                                                                                               of hit show and working
                                                                                                                                                               with 'wonderful' Ryan
                                                                                                                                                               Reynolds on Free Guy


                                                                                                                                                                Bella Hadid is ever the
                                                                                                                                                               stylish supermodel as
                                                                                                                                                               she sports a baby blue
                                                                                                                                                               cardigan and tight black
                                                                                                                                                               shorts while out with
                                                                                                                                                               her beau Marc Kalman



                                                                                                                                                                 Mariah Carey, Jennifer
                                   Buick's New Lineup Is Truly Stunning                                                                                        Hudson, Brandy, and
                                                                                                                                                               Anita Baker share
                                   All Things Auto | Search Ads                                                                          Learn More
                                                                                                                                                               tributes to Whitney
                                                                                                                                                               Houston on what
                                                                                                                                                               would've been her 58th
                                                                                                                                     Sponsored Links
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                                   New Jersey Program is Giving                                   The New Face Mask That's
                                   Homeowners New Windows                                         Sweeping America
                                   Window Quotes                                                  Health News Today™


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                                   This Only Looks Like A Regular Pocketknife - A Deejo Is…                                                                     Sarah Jessica Parker
                                   My Deejo                                                                                                                    and Kristin Davis both
                                                                                                                                                               wear pink on the NYC
                                                                                                                                     Sponsored Links           set of And Just Like
                                                                                                                                                               That... after funeral
                                                                                                                                                               scene and Kim Cattrall
                                                                                                                                                               sighting


                                                                                                                                                                'That was brilliant!'
                                                                                                                                                               Rita Ora gets a steamy
                                                                                                                                                               striptease by a topless
                                                                                                                                                               waiter on The Voice
                                                                                                                                                               Australia and social
                                                                                                                                                               media erupts
                                                                                                                                                               Rita Ora usually gets
                                                                                                                                                               pulses racing with her
                                                                                                                                                               own raunchy Instagram
                                                                                                                                                               photos.
                                   Biden Approves Billions in Mortgage                            Dive into a dream.
                                                                                                                                                                 Stephen Colbert
                                   Aid for Struggling Homeowners, If                              Museum of Ice Cream New York City
                                                                                                                                                               reveals he was CUT
                                   You Can’t Wait, Try This Tool                                                                                               from Barack Obama's
                                   LowerMyBills                                                                                                                60th birthday bash after
                                                                                                                                                               500 person guestlist
                                                                                                                                     Sponsored Links           was condemned for
                                                                                                                                                               setting a bad example
                             'I spent too much time dieting and I neglected my
                             health': Beyonce wows in a see-through diamanté                                                                                    Bachelor In Paradise
                                                                                                                                                               gets even juicier as new
                             top as she details pressures of being a pop icon                                                                                  extended sneak peek
                                                                                                                                                               promises plenty of tears
                                                                                                                                                               and the return of
                                                                                                                                                               Bachelorette vet Becca
                                                                                                                                                               Kufrin


                                                                                                                                                                 Cardi B highlights her
                                                                                                                                                               baby bump in a
                                                                                                                                                               skintight black dress
                                                                                                                                                               after confirming plans
                                                                                                                                                               to collaborate with Lizzo




                                                                                                                                                                'She would have been
                                                                                                                                                               very proud': Sarah
                                                                                                                                                               Ferguson reveals what
                                                                                                                                                               Princess Diana REALLY
                                                                                                                                                               would have thought
                                                                                                                                                               about 'Megxit'



                                                                                                                                                                 The Bachelorette's
                                                                                                                                                               Katie Thurston and
                             Beyoncé looks sensational on the cover of September's issue of Harper's BAZAAR -                                                  fiancé Blake Moynes
                                                                                                                                                               say they have had sex
                             and has opened up in a candid chat about dieting, body image and her mental                                                       at least FORTY-SIX
                             health.                                                                                                                           times since their night
                                                                                                                                                               in the Fantasy Suite
                                    TV&Showbiz
                                                                                                                                                                 Pregnant Cardi B
                                                                                                                                                               shares eye-popping
                                                                                                                                                               selfie as she proudly
                                                                                                                                                               puts cleavage on
                                             Comments 341                                                                                                      display in lacy
                                                                                                                                                               underwear: 'What ya
                                             Share what you think
                                                                                                                                                               think my new bra size
                                                                                                                                                               is?'
                                           Newest                        Oldest                        Best rated                   Worst rated
                                                                                                                                               View all          Kelly Bensimon is a
                                                                                                                                                               lady in white as she
                                 The comments below have not been moderated.                                                                                   models her svelte figure
                                                                                                                                                               in a ivory minidress
                                                                                                                                                               while carrying a luxe
                                                                                                                                                               magenta Birkin in New
                                                                                                                                                               York's Soho


                                                                                         Loading...                                                              Nick Cannon
                                                                                                                                                               celebrates season 16 of
                                                                                                                                                               VH1 Show Wild 'N Out
                                                                                                                                                               after defending decision
                                                                                                                                                               to father seven children
                                                                                                                                                               by four women
                                                                                                                                               View all

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                             Man decided to file for                    The Best Face Mask for                      New Jersey Program is
                             divorce after he took …                    Air Travel in 2021.                         Giving Homeowners…
                             Forever-Mom                                Sonovia                       Read More     Window Quotes




                                                                                                                                                                 Beyonce puts her jaw-
                                                                                                                                                               dropping body on
                                                                                                                                                               display as she turns up
                                                                                                                                                               the heat in a fitted
                                                                                                                                                               denim jumpsuit in
                                                                                                                                                               sizzling Ivy Park Rodeo
                                                                                                                                                               ad


                                                                                                                                                                Kaia Gerber dresses
                                                                                                                                                               down during an iced
                                                                                                                                                               coffee run... ahead of
                                                                                                                                                               her second episode of
                                                                                                                                                               American Horror Stories




                                                                                                                                                                Frank Ocean opens
                                                                                                                                                               doors at NYC store for
                                                                                                                                                               his luxury company
                                                                                                                                                               Homer




                                                                                                                                                                 'I felt like they were
                                                                                                                                                               asking me to die': Ryan
                                                                                                                                                               Adams says he's 'lost'
                                                                                                                                                               after being 'canceled'
                                                                                                                                                               following abuse
                                                                                                                                                               allegations in 2019



                                                                                                                                                                Selena Gomez says
                                                                                                                                                               she signed her 'life
                                                                                                                                                               away to Disney' at 15-
                                                                                                                                                               years-old: 'I didn't know
                                                                                                                                                               what I was doing'




                                                                                                                                                                 Music producer
                                                                                                                                                               Chucky Thompson
                                                                                                                                                               lauded by peers after
                                                                                                                                                               his death at 53 ... is
                                                                                                                                                               well-remembered for
                                                                                                                                                               working with stars such
                                                                                                                                                               as Notorious B.I.G.,
                                                                                                                                                               Mary J. Blige and Faith
                                                                                                                                                               Evans


                                                                                                                                                                 Eva Amurri shares her
                                                                                                                                                               modern family with
                                                                                                                                                               joyous images from
                                                                                                                                                               daughter Marlowe's 7th
                                                                                                                                                               birthday with ex-
                                                                                                                                                               husband Kyle Martino
                                                                                                                                                               and boyfriend Ian Hock


                                                                                                                                                                 Halsey shares
                                                                                                                                                               throwback of their 'fav
                                                                                                                                                               belly pic' that was
                                                                                                                                                               'never posted'... after
                                                                                                                                                               giving birth to baby
                                                             Ender Ridley
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                                                              Sofia Richie flaunts
                                                             her flawless physique
                                                             shopping for jewelry at
                                                             XIV Karats Ltd in
                                                             Beverly Hills.




                                                              Supermodel Paulina
                                                             Porizkova, 56, poses
                                                             nude behind a sun hat
                                                             as she opens up about
                                                             difficulties of dating in
                                                             her 50s after split from
                                                             Aaron Sorkin: 'The pool
                                                             of men is now a puddle'


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                                                               Matt Damon plays
                                                             third wheel on BFF Ben
                                                             Affleck's romantic hand-
                                                             in-hand stroll with
                                                             Jennifer Lopez on
                                                             beach in Malibu... days
                                                             after his homophobic
                                                             slur scandal


                                                               Kylie Jenner is a
                                                             makeup-free beauty
                                                             while showing off her
                                                             toned tummy in a bra
                                                             ahead of 24th birthday
                                                             ... after revealing her
                                                             glam routine takes more
                                                             than THREE hours


                                                               Quentin Tarantino, 58,
                                                             admits he REFUSES to
                                                             give his mother, 75, a
                                                             penny of his $120M
                                                             fortune after she once
                                                             mocked his writing
                                                             ambitions as a child


                                                               Tennis player Naomi
                                                             Osaka returns to
                                                             Instagram for the first
                                                             time since shock
                                                             Olympic defeat to share
                                                             behind-the-scenes
                                                             photos from her time in
                                                             Tokyo - after admitting
                                                             she buckled under
                                                             pressure at the Games


                                                               Jon Stewart and Pete
                                                             Davidson team up to
                                                             host star-studded
                                                             comedy show
                                                             benefiting 9/11 charities
                                                             on 20th anniversary of
                                                             terror attacks


                                                               Million Dollar Listing
                                                             Los Angeles promises
                                                             sizzling drama and the
                                                             arrival of Fredrik
                                                             Eklund... as they handle
                                                             the pandemic boom in
                                                             new trailer: 'The market
                                                             is hot right now'


                                                              Eliza Dushku
                                                             welcomes second son
                                                             Gregory Bodan 'Bodie'
                                                             with husband Peter
                                                             Palandjian: 'Gratitude
                                                             and joy!'



                                                               Homeschool starts
                                                             tomorrow! Chris
                                                             Hemsworth picks up his
                                                             children for the last time
                                                             before Byron Bay is
                                                             plunged into lockdown



                                                               Elsa Pataky strips
                                                             down to underwear and
                                                             shows off her dance
                                                             moves as she turns 45
                                                             during Sydney's
                                                             lockdown



                                                              'What if everyone
                                                             hated it and said I'd
                                                             ruined Christmas?':
                                                             Nicola Coughlan was
                                                             worried about
                                                             Bridgerton's December
                                                             25 release date on
                                                             Netflix


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                                                               Director Richard
                                                             Donner's cause of death
                                                             revealed to be heart
                                                             failure... a month after
                                                             passing at the age of 91




                                                               Britney Spears is
                                                             DENIED request to have
                                                             father axed from
                                                             conservatorship
                                                             immediately... and says
                                                             she will be 'posting less'
                                                             on Instagram after fans
                                                             share concern


                                                               Justin Theroux sports
                                                             a thick mustache while
                                                             pumping gas outside of
                                                             New York... after his
                                                             new series stopped
                                                             shooting due to
                                                             'unprofessional
                                                             behavior' on set


                                                               Hilarie Burton 'felt like
                                                             a prostitute' as she
                                                             recalls breaking down
                                                             into tears after filming
                                                             steamy love scene on
                                                             One Tree Hill: 'Am I a
                                                             sex worker in a way?'


                                                               Catherine Zeta-Jones
                                                             is cast in Netflix's
                                                             upcoming Wednesday
                                                             Addams series as
                                                             Morticia




                                                               Moments that have
                                                             shocked the Palace:
                                                             From Diana's bombshell
                                                             Panorama interview to
                                                             the stunning fall out
                                                             from Megxit - how
                                                             Andrew's court battle is
                                                             the latest heartache for
                                                             the Queen


                                                               Melissa McCarthy
                                                             shows off her style in a
                                                             fun floral jumpsuit as
                                                             she shops for vintage
                                                             clothing at the Rose
                                                             Bowl Flea Market



                                                               RHOA's Kenya Moore
                                                             files for divorce from
                                                             Marc Daly and wants
                                                             sole custody of
                                                             daughter Brooklyn...
                                                             while he wants HALF of
                                                             her $515K house


                                                              Nicole Kidman reveals
                                                             not being able to bring
                                                             daughters to set with
                                                             her has been 'one of the
                                                             most painful' parts of
                                                             working amid Covid-19
                                                             pandemic


                                                               Ashley Benson,
                                                             Victoria's Secret Angel
                                                             Leomie Anderson and
                                                             Fenty star Slick Woods
                                                             party at glamorous
                                                             launch of Thompson
                                                             Hollywood


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                                                              Socialite Caroline
                                                             Vreeland puts on a
                                                             VERY busty display as
                                                             she performs at
                                                             Thompson Hollywood
                                                             hotel launch in LA



                                                              Sarah Ferguson will fly
                                                             a helicopter across
                                                             Australia for a nature TV
                                                             show called Duchess
                                                             Down Under




                                                               Minnie Driver reveals
                                                             she has 'come to
                                                             understand that grief is
                                                             just another expression
                                                             of love' as she speaks
                                                             candidly about her
                                                             mother's death during
                                                             the pandemic


                                                               Amelia Hamlin puts
                                                             her abs on display as
                                                             she poses in purple
                                                             underwear while
                                                             looking for a snack in
                                                             her fridge only to settle
                                                             on a bottle of water


                                                               Nicole Scherzinger
                                                             shows off her cleavage
                                                             in a low-cut tank top as
                                                             she leaves a personal
                                                             training session... after
                                                             being cast in Annie
                                                             Live!


                                                               Tiger Woods'
                                                             attorneys sue his
                                                             former mistress Rachel
                                                             Uchitel for breaking $8
                                                             million NDA over her
                                                             affair with him after she
                                                             kept talking publicly
                                                             about it


                                                               Prince Andrew is
                                                             SUED by Virginia
                                                             Roberts in lawsuit
                                                             claiming he sexually
                                                             abused her at Jeffrey
                                                             Epstein's Manhattan
                                                             mansion and other
                                                             locations when she was
                                                             under 18


                                                               What next for Prince
                                                             Andrew? Queen's son
                                                             does NOT have
                                                             diplomatic immunity -
                                                             but could he face calls
                                                             for extradition to the US
                                                             for a civil case as his
                                                             brother Prince Charles
                                                             did in 1978?


                                                              'Prince Andrew
                                                             committed sexual
                                                             assault and battery
                                                             upon Plaintiff when she
                                                             was 17 years old': The
                                                             bombshell Giuffre v
                                                             Duke of York court
                                                             documents in full


                                                               Lily Collins cuddles
                                                             fiance Charlie McDowell
                                                             as she says 'au revoir'
                                                             to the City Of Lights
                                                             after wrapping season
                                                             two of Emily In Paris



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                                                               Bachelor stars Jade
                                                             Roper and Tanner
                                                             Tolbert offer fans a look
                                                             at their newly
                                                             purchased mini
                                                             mansion: 'We can't wait
                                                             to share everything with
                                                             you'


                                                               Bachelor contestant
                                                             Bekah Martinez defends
                                                             Coco Austin's decision
                                                             to continue
                                                             breastfeeding her five-
                                                             year-old daughter
                                                             Chanel: 'It's not weird'


                                                               Jennifer Coolidge
                                                             reveals she almost
                                                             turned down role in
                                                             White Lotus because
                                                             she'd been 'gorging' on
                                                             four pizzas a day and
                                                             'self-destructing' during
                                                             the pandemic


                                                              Kelly Clarkson
                                                             REFUSES to pay for ex
                                                             Brandon Blackstock's
                                                             Montana ranch but will
                                                             stump up 70% of kids'
                                                             school fees... as bitter
                                                             divorce battle rages on


                                                              EXCLUSIVE Lily-Rose
                                                             Depp, 22, and Austin
                                                             Butler, 29, go public
                                                             with new romance as
                                                             they put on a VERY
                                                             steamy display after
                                                             dinner date in London


                                                               Pregnant model
                                                             Ashley Graham posts a
                                                             video of her naked baby
                                                             bump before going
                                                             topless as she shares a
                                                             photo dump: 'What a
                                                             whacky week'


                                                               Alicia Vikander, 32,
                                                             cradles a baby as she
                                                             and husband Michael
                                                             Fassbender, 44, dote on
                                                             the infant while at an
                                                             airport in Paris



                                                              Renee Zellweger and
                                                             boyfriend Ant Anstead
                                                             attend their first public
                                                             event as a couple... two
                                                             months after British star
                                                             divorced wife Christina
                                                             Haack


                                                               Teresa Giudice's
                                                             daughter Gia, 20, of
                                                             Real Housewives Of
                                                             New Jersey shows off
                                                             her fit figure in a teeny
                                                             blue bikini that looks
                                                             taken from mom's
                                                             closet


                                                               Christine Quinn looks
                                                             incredible in a blue
                                                             bikini as she cradles her
                                                             two-month-old son
                                                             Christian while soaking
                                                             up the sun on Italian
                                                             holiday


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                                                               Prince Harry was
                                                             afraid he'd 'look weird' if
                                                             he 'stood outside and
                                                             juggled' in Meghan's
                                                             40th birthday video,
                                                             Melissa McCarthy
                                                             reveals


                                                               Travis Barker and
                                                             Machine Gun Kelly get
                                                             matching tattoos as
                                                             they announce their
                                                             new album Born With
                                                             Horns



                                                               Khloe Kardashian
                                                             poses in a sports bra as
                                                             she tells fans to be
                                                             'healthy'... before
                                                             sharing images of
                                                             daughter True in a
                                                             leopard print swimsuit


                                                              Bethenny Frankel is
                                                             carefree in a tie-dye
                                                             maxi dress as she picks
                                                             up a festive piñata with
                                                             daughter Bryn, 11, to
                                                             celebrate the end of
                                                             summer


                                                               Ludacris and wife
                                                             Eudoxie Bridges
                                                             announce the arrival of
                                                             their second child
                                                             together as they post
                                                             sweet snaps of their
                                                             'beautiful angel'


                                                               Sarah Jessica Parker
                                                             is seen in THAT
                                                             controversial maxi
                                                             dress thought to be
                                                             from fast fashion brand
                                                             Forever 21 while filming
                                                             Sex And The City reboot


                                                               Jeopardy! executive
                                                             producer and host
                                                             frontrunner Mike
                                                             Richards addresses
                                                             resurfaced sexual
                                                             harassment lawsuits ...
                                                             after it's revealed he is
                                                             in 'deep negotiations' to
                                                             replace Alex Trebek


                                                               Bam Margera SUES
                                                             Jackass team including
                                                             Johnny Knoxville over
                                                             firing... as he alleges
                                                             'inhumane treatment'
                                                             and likens it to Britney
                                                             Spears conservatorship
                                                             case


                                                               Aussie soccer star
                                                             Sam Kerr confirms her
                                                             relationship with
                                                             American rival Kristie
                                                             Mewis - after the pair
                                                             were seen cuddling on
                                                             the pitch in Tokyo


                                                              Melanie Griffith is 64!
                                                             Actress' daughters
                                                             Dakota Johnson and
                                                             Stella Banderas send
                                                             balloons as close pal
                                                             Kris Jenner wishes her
                                                             happy birthday


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                                                               'Sweet like candy':
                                                             Simone Biles snaps
                                                             selfies in a bikini and
                                                             treats herself to a
                                                             cocktail as she unwinds
                                                             at home in Texas after
                                                             troubled Olympics


                                                               Nick Cannon
                                                             DEFENDS having seven
                                                             children with four
                                                             different women and
                                                             says he doesn't
                                                             'subscribe' to
                                                             monogamy: 'It ain't my
                                                             decision'


                                                               Chrissy Teigen
                                                             reveals she has therapy
                                                             twice a week amid
                                                             bullying scandal - as
                                                             she shares chic snaps
                                                             from Barack Obama's
                                                             60th birthday bash


                                                              The fun is over!
                                                             Selling Sunset star
                                                             Chrishell Stause, 40,
                                                             and new 'boss beau'
                                                             Jason Oppenheim, 44,
                                                             return to LA after loved-
                                                             up vacation in Europe


                                                              US women's soccer
                                                             star Kristie Mewis
                                                             confirms relationship
                                                             with Australian player
                                                             Sam Kerr by sharing a
                                                             kissing photo - days
                                                             after sparking romance
                                                             rumors on Olympic field


                                                               Kim Basinger, 67, best
                                                             known for the Eighties
                                                             sex drama 9 1/2 Weeks,
                                                             is seen for the first time
                                                             since ex-husband Alec
                                                             Baldwin, 63, welcomed
                                                             his SEVENTH child


                                                               Little Mix star Leigh-
                                                             Anne Pinnock shows off
                                                             sizzling figure in a
                                                             bathtub as she poses
                                                             for pre-pregnancy
                                                             throwback snaps for her
                                                             swimwear brand


                                                               BravoCon 2021
                                                             CANCELLED: Network
                                                             announces event has
                                                             been postponed to 2022
                                                             'out of an abundance of
                                                             caution' amid COVID-19
                                                             concerns


                                                               'You've changed my
                                                             life': Ellen DeGeneres
                                                             celebrates two decades
                                                             of her talk show in the
                                                             farewell season teaser...
                                                             after THAT toxic
                                                             workplace scandal


                                                               Jodie Comer cuts an
                                                             elegant figure in black
                                                             plunging jumpsuit as
                                                             she attends the UK
                                                             premiere of her latest
                                                             film Free Guy



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                                                              Charlize Theron
                                                             carries daughter
                                                             August, 5, on her
                                                             shoulders as she enjoys
                                                             a family outing in
                                                             Greece after celebrating
                                                             her 46th birthday


                                                               Kaley Cuoco and SNL
                                                             vet Pete Davidson have
                                                             fun at New Jersey's Six
                                                             Flags amusement park
                                                             as they film their
                                                             romantic comedy Meet
                                                             Cute


                                                              When in Greece! Olivia
                                                             Culpo shows off her
                                                             breathtakingly beautiful
                                                             body in a red bikini as
                                                             she takes in the view of
                                                             Greece with her 'great
                                                             peeps'


                                                               'Cheeky season 2':
                                                             Cara Delevingne flaunts
                                                             her pert posterior in
                                                             nude underwear as she
                                                             teases the second
                                                             season of Carnival Row



                                                              Kit Harington and wife
                                                             Rose Leslie take baby
                                                             son for a stroll after
                                                             actor told how he
                                                             contemplated suicide
                                                             amid 'traumatic'
                                                             addiction battle


                                                               Julianne Hough's ex
                                                             Brooks Laich and
                                                             Icelandic athlete Katrin
                                                             Tanja Daviðsdottir go
                                                             Instagram official in
                                                             Hawaii



                                                               James Corden 'forced
                                                             to isolate for a week
                                                             after new series
                                                             Mammals is shut down
                                                             due to COVID outbreak'




                                                              Liev Schreiber, 53,
                                                             holds on to his dog as
                                                             he takes girlfriend
                                                             Taylor Neisen, 28, and
                                                             child Sasha, 14, on a
                                                             bicycle ride in the
                                                             Hamptons


                                                               'I'm sorry Maggie':
                                                             Pretty Little Liars
                                                             actress Lucy Hale
                                                             apologizes to her sister
                                                             for getting matching
                                                             sun tattoo removed



                                                               John Travolta reveals
                                                             Nancy Reagan told him
                                                             it was Princess Diana's
                                                             'fantasy' to dance with
                                                             him at White House Ball
                                                             in 1985



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                                                              Cassie Randolph
                                                             passionately kisses
                                                             newly minted beau
                                                             Brighton Reinhardt in
                                                             his music video ... after
                                                             going Instagram official
                                                             with their romance


                                                               Tyler Cameron and
                                                             girlfriend Camila Kendra
                                                             'call it quits after eight
                                                             months' and unfollow
                                                             each other on Instagram




                                                               'Most beautiful girl in
                                                             the world' Thylane
                                                             Blondeau, 20, packs on
                                                             the PDA with her beau
                                                             Ben Attal as they head
                                                             out for lunch in St
                                                             Tropez


                                                              Jon Gosselin's
                                                             girlfriend Colleen
                                                             Conrad reveals she's
                                                             been diagnosed with
                                                             breast cancer: 'I had not
                                                             been doing monthly
                                                             self-breast exams'


                                                               Lottie Moss puts on a
                                                             leggy display in
                                                             plunging leopard print
                                                             mini dress and black
                                                             combat boots after
                                                             going public with The
                                                             Vamps Tristan Evans


                                                               Tiger King's Joe Exotic
                                                             reveals his prostate
                                                             cancer may have spread
                                                             to pelvis and stomach
                                                             in prison as he criticizes
                                                             US justice system



                                                              Selling Sunset
                                                             property twins Jason
                                                             and Brett Oppenheim
                                                             cut smart figures in
                                                             black shirts for a night
                                                             out in Chelsea



                                                               Rachel Weisz kisses
                                                             female body double on
                                                             the cheek as she films
                                                             scenes on the set of
                                                             Dead Ringers in which
                                                             she plays BOTH twins



                                                              Madonna puts on a
                                                             VERY busty display as
                                                             she flashes her black
                                                             bra in a low-cut top for
                                                             sizzling snaps ahead of
                                                             her 63rd birthday



                                                               Johnny Depp is set to
                                                             receive the highest
                                                             honor at the San
                                                             Sebastian Film Festival
                                                             - amid claims his latest
                                                             film Minamata has been
                                                             'buried' following legal
                                                             battles


                                                               'I'm actually the victim
                                                             here!' Ryan Reynolds
                                                             tells The Project's
                                                             Carrie Bickmore that
                                                             Hugh Jackman's nice
                                                             guy persona is not all it
                                                             seems


                                                               'You have to tell
                                                             security to stay out the
                                                             shot!': Naked And
                                                             Afraid fans slam the
                                                             show as 'fake' after
                                                             spotting a man with a
                                                             rifle 'protecting'
                                                             contestants in Africa


                                                              Lily James shows off
                                                             her slim frame in Daisy
                                                             Dukes and a knitted
                                                             crop top as she cuddles
                                                             beau Michael Shuman
                                                             while grabbing
                                                             smoothies in LA


                                                               Don't Stop: Fleetwood
                                                             Mac's Christine McVie
                                                             follows bandmate
                                                             Lindsey Buckingham in
                                                             selling back catalogue
                                                             to music investment
                                                             trust Hipgnosis


                                                              Luc Longley and
                                                             Michael Jordan reveal
                                                             why they are good
                                                             mates now after the pair
                                                             had a rocky road at the
                                                             Chicago Bulls



                                                               Zoe Saldana packs on
                                                             the PDA with husband
                                                             Marco Perego as they
                                                             share a kiss while
                                                             enjoying dinner in
                                                             Portofino



                                                              Rita Ora commands
                                                             attention as she flashes
                                                             her abs in a purple bow
                                                             crop top and quirky
                                                             bright trousers in Paris




                                                              Cristiano Ronaldo's
                                                             girlfriend Georgina
                                                             Rodriguez, 27, is
                                                             breathtaking in a
                                                             sparkling green gown
                                                             with thigh-high split at
                                                             gala in Spain


                                                              Alessandra Ambrosio
                                                             displays her model
                                                             physique in a hot red
                                                             bikini as she packs
                                                             on the PDA with Richard
                                                             Lee during fun-filled
                                                             beach day in Brazil


                                                              EXCLUSIVE     The party
                                                             continues! Barack
                                                             Obama's 60th
                                                             celebrations roll into
                                                             their third day with a
                                                             birthday brunch in
                                                             Martha's Vineyard


                                                               In the pink! Beaming
                                                             Queen attends official
                                                             welcome ceremony at
                                                             Balmoral during her
                                                             first summer holiday at
                                                             her Scottish estate
                                                             without Prince Philip


                                                               When in Scotland!
                                                             Prince Charles dons a
                                                             traditional tartan kilt
                                                             and sporran as he visits
                                                             Dunrobin Castle, the
                                                             most northerly of the
                                                             nation's great houses


                                                               He just keeps Guett-
                                                             ing better! Shirtless
                                                             David, 53, continues to
                                                             show off his glow up as
                                                             he hits the beach in
                                                             Mykonos



                                                               Rebel Wilson shines in
                                                             a plunging canary
                                                             yellow frock as she
                                                             enjoys lunch with tennis
                                                             legend John McEnroe
                                                             on Italian getaway



                                                              Khloe Kardashian
                                                             oozes confidence in a
                                                             nude bodysuit... as she
                                                             shares optimistic
                                                             quotes amid Tristan
                                                             Thompson's trade to
                                                             California


                                                               Selling Sunset stars
                                                             trade Mykonos for
                                                             London as they enjoy a
                                                             weekend of filming -
                                                             and sightseeing




                                                               Katie Price carries
                                                             bags of her own BLOOD
                                                             and hobbles around
                                                             with her face wrapped
                                                             in bandages as she
                                                             documents latest
                                                             facelift, Brazillian bum
                                                             lift and lipo


                                                               Chris Brown proves he
                                                             and former flame
                                                             Ammika Harris are the
                                                             friendliest of exes as
                                                             they enjoy a night out
                                                             together in Mykonos



                                                               Conor McGregor looks
                                                             dapper in a suit as he
                                                             heads out on crutches
                                                             for date night with
                                                             fiancée Dee Devlin at
                                                             Catch in LA amid
                                                             broken leg recovery


                                                              Shirtless Shawn
                                                             Mendes says he's 'living
                                                             his best life'... before
                                                             celebrating 23rd
                                                             birthday with Camila
                                                             Cabello at boozy NYC
                                                             bash


                                                               Rihanna is about to
                                                             get even RICHER!
                                                             Popstar flashes her abs
                                                             in new ad for Fenty
                                                             Beauty's first fragrance
                                                             as she says 'we're f***ed
                                                             up, most of the time'


                                                               Anne Marie and
                                                             Rag'n'Bone Man set to
                                                             welcome Team GB back
                                                             from Tokyo following
                                                             their Olympics success
                                                             with a star-studded
                                                             concert at Wembley


                                                              EXCLUSIVE Is that
                                                             you, Ted? Harry Styles
                                                             is the spitting image of
                                                             Olivia Wilde's ex Jason
                                                             Sudeikis as he sports a
                                                             thick Lasso-inspired
                                                             moustache


                                                               Heather Graham, 51,
                                                             tosses a shawl over her
                                                             bikini body while
                                                             enjoying her 'endless
                                                             summer' on the beach




                                                               Rocco's forte? It's
                                                             modelling! Madonna
                                                             and Guy Ritchie's son,
                                                             20, dons series of
                                                             vintage suits to dazzle
                                                             in his first photoshoot



                                                               Jennifer Hudson stuns
                                                             in purple-sequin gown
                                                             at the LA premiere of
                                                             Aretha Franklin biopic
                                                             Respect




                                                               Rebel Wilson reveals
                                                             she wants to smuggle
                                                             Covid vaccines into
                                                             Australia so the country
                                                             can adjust to the 'new
                                                             normal' and 'get on with
                                                             their lives'


                                                              'Our beautiful angel is
                                                             always ready for an
                                                             adventure': Bindi Irwin
                                                             shares adorable photos
                                                             of her four-month-old
                                                             daughter Grace out in
                                                             nature


                                                              EXCLUSIVE     Kelsey
                                                             Merritt showcases her
                                                             incredible physique in a
                                                             blue bikini as she joins
                                                             fellow models Sara
                                                             Sampaio and Jasmine
                                                             Tookes on yacht trip in
                                                             Sardinia


                                                              Sex And The City's
                                                             Willie Garson says it
                                                             was 'very hard' to talk to
                                                             Mikhail Baryshnikov
                                                             during his time on the
                                                             series: 'He's just very
                                                             Russian'


                                                              Conor McGregor is in
                                                             high spirits even while
                                                             sporting crutches and a
                                                             cast on his broken leg
                                                             while spending the day
                                                             with his family in
                                                             Beverly Hills


                                                               Something to tell us?
                                                             Cody Simpson's
                                                             girlfriend Marloes
                                                             Stevens wears a baggy
                                                             shirt - after calling him
                                                             'daddy' on Instagram
                                                             and starting homemade
                                                             baby mobile business


                                                              Princess Charlene, the
                                                             poster girl! Royal
                                                             shares snap from her
                                                             anti-poaching campaign
                                                             as she remains in South
                                                             Africa for treatment 'for
                                                             a sinus infection'


                                                               The Flash extras wave
                                                             flags and carry signs
                                                             teasing character Jester
                                                             Judd as they film
                                                             protest scenes for
                                                             upcoming movie in
                                                             London


                                                              Bella Hadid shares
                                                             rainbow-hued
                                                             slideshow of herself
                                                             and posts about
                                                             astrology
                                                             Model celebrated a
                                                             cosmic alignment


                                                               Nick Jonas says it's
                                                             'an honor' as he and
                                                             Jonas Brothers play the
                                                             song Remember This
                                                             for the Olympic closing
                                                             ceremony



                                                              Reese Witherspoon
                                                             and her lookalike
                                                             daughter Ava Phillippe,
                                                             21, pose for a silly snap
                                                             while making
                                                             margaritas



                                                              Sofia Richie is
                                                             effortlessly stylish as
                                                             she and boyfriend Elliot
                                                             Grange enjoy a
                                                             shopping trip in Malibu




                                                               'He drew attention
                                                             wherever he went':
                                                             Molly Ringwald pays
                                                             tribute to her late father
                                                             Robert after musician
                                                             who went blind passes
                                                             away age 80


                                                               Erykah Badu spotted
                                                             leaving a Chinese
                                                             restaurant with a friend
                                                             in Martha's Vineyard
                                                             after sharing a glimpse
                                                             of Barack Obama's 60th
                                                             birthday on Instagram


                                                               Bebe Rexha keeps a
                                                             low profile during
                                                             makeup-free outing to
                                                             Kreation Organic with
                                                             her dog




                                                               Shahs of Sunset:
                                                             Paulina tells Destiney
                                                             that her and Mike have
                                                             broken up while MJ tells
                                                             Reza that Tommy wants
                                                             to keep the restraining
                                                             order


                                                              Gabrielle Union and
                                                             Dwayne Wade are
                                                             spotted boarding a
                                                             private jet in Martha's
                                                             Vineyard... a day after
                                                             attending President
                                                             Barack Obama's 60th
                                                             birthday party


                                                              Jamie Lynn Spears
                                                             gets comforted by her
                                                             daughter, three, as she
                                                             sobs in new video amid
                                                             ongoing drama with
                                                             sister Britney: 'It'll be
                                                             OK, mom'


                                                               Rapper T.I. and wife
                                                             Tameka Harris return
                                                             from a long afternoon
                                                             bike ride... four days
                                                             after his Amsterdam
                                                             arrest



                                                               Lucy Hale is chic in
                                                             short shorts and Dior
                                                             slides as she steps out
                                                             on a solo shopping trip
                                                             in Los Angeles
                                                             Lucy Hale was super chic
                                                             as she stepped out on a
                                                             solo shopping trip on
                                                             Sunday morning.




                                                             ADVERTISEMENT




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                                                                              unsafe, residents forced to vaca…
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                                                                              Tennessee high school after call…
                                                                              about
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                                                             DON'T MISS
                                                               Pete Davidson rents
                                                             an entire Staten Island
                                                             theater to treat fans to a
                                                             free screening of The
                                                             Suicide Squad




                                                               Harrison Ford, 79,
                                                             enjoys holiday with
                                                             wife, Calista Flockhart,
                                                             56, as couple make rare
                                                             appearance together in
                                                             Croatia after being
                                                             forced to take filming
                                                             break from Indiana
                                                             Jones 5


                                                               Modern Family star
                                                             Julie Bowen helped
                                                             rescue hiker who had
                                                             fainted and broken her
                                                             nose at Utah's Arches
                                                             National Park



                                                               Emily Ratajkowski's
                                                             celebrates her baby
                                                             Sylvester Apollo turning
                                                             five months old with
                                                             sweet snaps




                                                               Kathy Griffin says
                                                             laughter is the best
                                                             medicine as she opens
                                                             up about ongoing
                                                             recovery from surgery
                                                             following cancer
                                                             diagnosis


                                                               Hugh Jackman's latest
                                                             biopsy result comes
                                                             back 'inconclusive' after
                                                             actor was treated for
                                                             skin cancer six times in
                                                             the past



                                                               Molly Ringwald pens
                                                             moving memorial to late
                                                             father Bob Ringwald
                                                             after jazz musician's
                                                             death at 80: 'I consider
                                                             myself very lucky to
                                                             have had in my life as
                                                             long as I did'


                                                               Crystal Kung Minkoff
                                                             defends RHOBH costar
                                                             Erika Jayne after she is
                                                             accused of lacking
                                                             'empathy' for Tom
                                                             Girardi's victims: 'She
                                                             might be a victim too'


                                                              Michael B. Jordan
                                                             rocks a vintage Tina
                                                             Turner t-shirt and masks
                                                             up while running some
                                                             errands in West
                                                             Hollywood



                                                              EXCLUSIVE      Joel
                                                             Kinnaman is seen with
                                                             girlfriend Kelly Gale for
                                                             the first time since
                                                             obtaining a restraining
                                                             order against model
                                                             Gabriella Magnusson


                                                               DaBaby DELETES his
                                                             apology for 'hurtful and
                                                             triggering comments'
                                                             about HIV/AIDS... after
                                                             multiple festivals
                                                             dropped him for the
                                                             homophobic remarks


                                                               Caitlyn Jenner SPOILS
                                                             Big Brother VIP as she
                                                             confirms she's 'glad to
                                                             be back' in California -
                                                             just days after entering
                                                             the Sydney compound



                                                              David Hasselhoff's
                                                             daughter Hayley, 28,
                                                             sets pulses racing as
                                                             she flaunts her enviable
                                                             curves in a plunging
                                                             black bikini in Mallorca



                                                               Vanessa Bryant and
                                                             BFF Ciara crack up
                                                             laughing while trying to
                                                             lip sync a Kevin Hart
                                                             stand up routine about
                                                             best friends



                                                               Sophia Bush pays
                                                             tribute to her late
                                                             Chicago P.D. costar
                                                             Markie Post... after the
                                                             Night Court star dies at
                                                             age 70 after years-long
                                                             cancer battle


                                                               Rita Ora smolders as
                                                             she goes bra-free
                                                             beneath dressing gown
                                                             in ultra-glam new series
                                                             of photos




                                                              'He's not a choirboy':
                                                             Captain America writers
                                                             crush fan theories the
                                                             Marvel hero is 'a virgin'




                                                               Jane Withers dead at
                                                             95: Child star of the
                                                             Hollywood Golden Age
                                                             passes away after roles
                                                             in Bright Eyes, Giant,
                                                             and The Hunchback of
                                                             Notre Dame


                                                              EXCLUSIVE     Sandra
                                                             Lee shares a passionate
                                                             kiss with new beau Ben
                                                             Youcef in Saint-Tropez
                                                             as her 'love gov' ex
                                                             Andrew Cuomo STILL
                                                             refuses to resign


                                                               David Beckham and
                                                             son Romeo sit together
                                                             in Inter Miami stands as
                                                             sports icon kindly
                                                             throws autographed
                                                             shirt to fan before kick
                                                             off


                                                               Christine Quinn wows
                                                             in an aquamarine string
                                                             bikini as she practices
                                                             yoga poses on a paddle
                                                             board while her
                                                             husband Christian
                                                             Richard watches on


                                                               Charlize Theron looks
                                                             incredible in a figure-
                                                             hugging black swimsuit
                                                             as she enjoys a boat
                                                             trip with her daughters
                                                             during sun-kissed
                                                             holiday in Greece


                                                               Billie Lourd stuns in a
                                                             crimson dress as she
                                                             takes in the beauty of
                                                             Positano during
                                                             getaway with
                                                             fiance Austin Rydell and
                                                             their son Kingston


                                                               Kate Moss' daughter
                                                             Lila Grace, 18, channels
                                                             her supermodel mother
                                                             as she struts along in a
                                                             nude satin mini-dress in
                                                             Ibiza



                                                               Guests including
                                                             Chrissy Teigen and her
                                                             husband John Legend
                                                             leave Barack Obama's
                                                             60th birthday EARLY
                                                             because of 's*** show'
                                                             traffic in Martha's
                                                             Vineyard


                                                               Cindy Crawford waves
                                                             the American flag as
                                                             she celebrates the
                                                             Olympic athletes after
                                                             the 2020 Summer
                                                             Games: 'Congrats to all
                                                             the athletes!'


                                                               Sean Penn holds
                                                             hands with his actress
                                                             daughter Dylan at a
                                                             special screening of
                                                             their new film Flag Day...
                                                             after critics savaged it
                                                             at Cannes


                                                               Camila Cabello is
                                                             every inch the trendy
                                                             traveler in button down
                                                             dress and plaid top as
                                                             she jets into NYC after
                                                             trip to Mallorca with
                                                             Shawn Mendes


                                                               Dua Lipa sets pulses
                                                             racing in a ruffle-
                                                             sleeved blue bikini as
                                                             she showcases her
                                                             toned body on a
                                                             sunlounger in Ibiza



                                                               The Suicide Squad
                                                             tops the weekend box
                                                             office with a $25.6
                                                             million debut... but falls
                                                             short of expectations
                                                             amid Delta variant fears



                                                              'Special night in NYC':
                                                             David Beckham, 46, and
                                                             Victoria, 47, order 'the
                                                             best' grub in the city
                                                             with kids Harper, 10,
                                                             Cruz, 16, and Brooklyn,
                                                             22


                                                               Meghan's estranged
                                                             brother Thomas Markle
                                                             Jr enters Australian Big
                                                             Brother house - and
                                                             immediately brands her
                                                             'shallow' and says he
                                                             warned Prince Harry
                                                             she would 'ruin his life'


                                                               Maskless Obama hits
                                                             the dancefloor at celeb-
                                                             filled 'scaled back'
                                                             Martha's Vineyard 60th
                                                             birthday bash attended
                                                             by hundreds that has
                                                             been labeled 'hypocrisy
                                                             at its finest' amid
                                                             nation's Delta surge

                                                              Chloe Sevigny cuts a
                                                             heavenly figure in white
                                                             puff sleeve top and
                                                             matching tiered skirt as
                                                             she hails a taxi in NYC




                                                               Nina Dobrev puts taut
                                                             bikini body on display
                                                             for Instagram at the
                                                             beach... after showing
                                                             off endless pins in
                                                             Daisy Dukes on Los
                                                             Angeles stroll


                                                               Caitlyn Jenner
                                                             RETURNS to California
                                                             just days after entering
                                                             the Big Brother VIP
                                                             compound in Australia
                                                             amid run for governor



                                                              Night Court
                                                             actress Markie Post
                                                             passes away at age 70
                                                             after nearly four-year
                                                             battle with cancer




                                                              'I went through
                                                             horrible stuff': Game of
                                                             Thrones' Kit Harington
                                                             reveals how he
                                                             contemplated suicide
                                                             amid 'traumatic' battle
                                                             with alcoholism and
                                                             depression


                                                              'I love you with all my
                                                             heart': Princess
                                                             Beatrice's husband
                                                             Edoardo Mapelli Mozzi
                                                             gushes over the
                                                             pregnant royal as he
                                                             wishes her a happy
                                                             birthday as she turns 33


                                                              Lynyrd Skynyrd
                                                             cancels upcoming
                                                             concerts after guitarist
                                                             Rickey Medlocke tests
                                                             positive for COVID




                                                               Ben Affleck wears a
                                                             big smile while paying a
                                                             friendly visit to ex
                                                             Jennifer Garner's home
                                                             in Brentwood to see his
                                                             kids... after his yacht
                                                             getaway with JLo


                                                              Chrissy Teigen gets
                                                             glammed up for
                                                             Obama's big 60th
                                                             birthday bash and
                                                             channels Marilyn
                                                             Monroe as she sings
                                                             Happy Birthday coming
                                                             down stairs

                                                               Dua Lipa puts on a
                                                             leggy display in lace-up
                                                             kitten heels as she
                                                             steps out with beau
                                                             Anwar Hadid in Ibiza




                                                               Alicia Keys displays
                                                             her incredible frame in
                                                             blue crop-top and
                                                             shorts as she enjoys
                                                             idyllic yacht holiday in
                                                             Corsica with her sons



                                                               Elsa Hosk looks chic
                                                             as she steps out with
                                                             baby daughter Tuulikki
                                                             and partner Tom Daly
                                                             for stroll in California




                                                               Dua Lipa sizzles in a
                                                             VERY affordable bikini
                                                             from an Aussie fashion
                                                             label on a family trip to
Case 1:21-cr-00035-RC Document 102-17 Filed 08/23/21 Page 4 ofAlbania
                                                               5      - here's how
                                                             you can get your hands
                                                             on one just like it


                                                                 'I told Prince Harry
                                                               she'd ruin your life':
                                                               Thomas Markle Jr slams
                                                               sister Meghan as
                                                               'shallow' as he joins
                                                               Caitlyn Jenner in new
                                                               trailer for Australia's Big
                                                               Brother VIP


                                                                Hugh Jackman
                                                               updates fans on latest
                                                               skin cancer scare and
                                                               urges them to 'please
                                                               get skin checks and
                                                               wear sunscreen'



                                                                 James Corden 'offered
                                                               $9.7MILLION to extend
                                                               Late Late Show contract
                                                               for a further two years'...
                                                               which would see him
                                                               host series until at least
                                                               2024


                                                                 Mario Lopez and
                                                               Brody Jenner team up
                                                               to introduce Sugar
                                                               Factory's newest
                                                               tequila-based cocktail in
                                                               Century City



                                                                 How 'ungrateful twat'
                                                               Hillsong founder Brian
                                                               Houston was put up in a
                                                               five-star suite for hotel
                                                               quarantine by top cop
                                                               then jetted off to Mexico
                                                               before he was charged
                                                               with concealing his
                                                               father's child sex abuse


                                                                Alessandra Ambrosio
                                                               shares romantic snap of
                                                               kiss with beau Richard
                                                               Lee on starlit lawn in
                                                               her native Brazil




                                                                 Whitest Kids U Know
                                                               star Trevor Moore dead
                                                               at 41 after 'accident':
                                                               Family devastated after
                                                               'tragic and sudden loss'




                                                                 Bradley Cooper and
                                                               daughter Lea de Seine
                                                               look ready to celebrate
                                                               as they arrive on
                                                               Martha's Vineyard to
                                                               attend Barack Obama's
                                                               60th birthday party


                                                                 Halsey gives a first
                                                               look at son Ender's
                                                               colorful nursery and a
                                                               close-up of their
                                                               postpartum body... three
                                                               weeks after giving birth



                                                                'I was off my head':
                                                               Margot Robbie reveals
                                                               she went to a 'terrible'
                                                               audition high on
                                                               prescription painkillers
                                                               Star accidentally took a
                                                               double dose of
                                                               medication

                                                                 A make-up free Irina
                                                               Shayk displays her
                                                               ample assets and
                                                               peachy posterior in a
                                                               brown bikini during
                                                               Ibiza break... amid
                                                               claims she and Kanye
                                                               West are still 'dating'


                                                                 Kylie Jenner teases
                                                               the release of her 24th
                                                               birthday collection
                                                               while posing in nothing
                                                               but gold body paint and
                                                               a G-string: '3 more days'



                                                                'Looking flawless as
                                                               ever': Viewers are
                                                               dazzled by Rita Ora's
                                                               glamorous debut as a
                                                               coach on The Voice
                                                               Australia



                                                                 Megan Rapinoe
                                                               passionately kisses
                                                               fiancée Sue Bird after
                                                               US women's basketball
                                                               team beats host Japan
                                                               to claim SEVENTH
                                                               straight Olympic gold
                                                               medal


                                                                 Sir Paul McCartney
                                                               shares a laugh with a
                                                               friend as they lark
                                                               around together in the
                                                               sunshine of wealthy
                                                               New York hotspot The
                                                               Hamptons


                                                                 ALEXANDRA
                                                               SHULMAN says room
                                                               where Duchess's
                                                               birthday video was
                                                               filmed exemplifies
                                                               chasm between money
                                                               and taste


                                                                 Kourtney Kardashian
                                                               rocks a fabulous floral
                                                               bikini as she's driven
                                                               around in a golf cart by
                                                               her daughter Penelope
                                                               Pair wore matching blue
                                                               terrycloth bucket hats


                                                                Lisa Vanderpump
                                                               poses with pregnant
                                                               daughter Pandora and
                                                               pal Lance Bass as she
                                                               welcomes reality show
                                                               co-stars to World Dog
                                                               Day bash


                                                                 Dwayne Johnson
                                                               assures fans he
                                                               showers THREE times a
                                                               day and is 'the opposite
                                                               of a "not washing
                                                               themselves" celeb'...
                                                               after stars share how
                                                               rarely they bathe

                                                                Cardi B celebrates
                                                               one-year since WAP
                                                               was released by posting
                                                               never-before-seen
                                                               photos from the rap
                                                               song's racy music video
                                                               with Megan Thee
                                                               Stallion

                                                                Kim Kardashian
                                                               masks up in eerie black
                                                               Balenciaga jumpsuit for
                                                               estranged husband
                                                               Kanye West's second
                                                               Donda listening party



                                                                EXCLUSIVE     Chrissy
                                                               Teigen puts her
                                                               cyberbullying scandal
                                                               behind her for walk in
                                                               Martha's Vineyard with
                                                               John Legend and their
                                                               kids ahead of Obama's
                                                               'scaled back' 60th
                                                               birthday party

                                                                 Farewell, peroxide
                                                               Pamela Anderson! Lily
                                                               James goes back to
                                                               brunette for lunch with
                                                               boyfriend's parents
                                                               after hair and make-up
                                                               artists transformed her
                                                               for new TV series

                                                                 January Jones, 43,
                                                               asks her fans if she is
                                                               'trying too hard or not
                                                               hard enough' while
                                                               wearing a draping
                                                               crochet dress and a
                                                               black cap


                                                                 Sarah Ferguson
                                                               insists she is '100%
                                                               certain' her ex-husband
                                                               Prince Andrew is telling
                                                               the truth over his part in
                                                               Jeffrey Epstein scandal



                                                                 White Lines star Laura
                                                               Haddock shows off her
                                                               leggy figure in ripped
                                                               black Daisy Dukes at
                                                               Wilderness Festival




                                                                 Kool & the Gang
                                                               founding member
                                                               Dennis 'Dee Tee'
                                                               Thomas dies at age 70
                                                               in his sleep at his New
                                                               Jersey home



                                                                 Blanco Blanca, 40,
                                                               showcases her ample
                                                               assets and incredible
                                                               hourglass figure in
                                                               figure-hugging swimsuit
                                                               as she relaxes on Italian
                                                               coastline


                                                                 Winnie Harlow cuts a
                                                               very casual figure as
                                                               she wears an oversized
                                                               t-shirt and gray
                                                               sweatpants while
                                                               running errands in Los
                                                               Angeles... following her
                                                               birthday blowout

                                                                 Jennifer Garner is ever
                                                               the doting mother as
                                                               she gives daughters
                                                               Violet and Seraphina a
                                                               big hug while picking up
                                                               the latter from summer
                                                               camp in Los Angeles


                                                                 Madonna prepares for
                                                               her birthday on
                                                               Instagram as she
                                                               announces 'Tonight is
                                                               the new moon of
                                                               Virgo'... and also shares
                                                               a sexy throwback snap


                                                                 Chris Harrison
                                                               celebrates anniversary
                                                               with girlfriend Lauren
                                                               Zima in his FIRST
                                                               Instagram post since
                                                               being ousted from The
                                                               Bachelor


                                                                Shay Mitchell enjoys
                                                               coffee run with gal pal
                                                               after revealing marriage
                                                               may not 'be in the cards'
                                                               with Matte Babel as they
                                                               raise daughter Atlas,
                                                               one


                                                                 Obama and his guests
                                                               fail to mask up as he
                                                               gets 'scaled back' 60th
                                                               birthday party
                                                               celebrations started at
                                                               his $12M Martha's
                                                               Vineyard


                                                                 Katy Perry playfully
                                                               calls out her fiancé
                                                               Orlando Bloom for
                                                               forgetting 'to tag' her in
                                                               their Italian vacation
                                                               photos



                                                                Tori Spelling shares a
                                                               sweet family photo of
                                                               her five children ahead
                                                               of new back-to-school
                                                               routine




                                                                Thomas Markle claims
                                                               he sent his estranged
                                                               daughter Meghan a
                                                               bouquet of red roses for
                                                               her 40th birthday but
                                                               she hasn't responded



                                                                 Ariana Grande shares
                                                               a romantic kiss with her
                                                               husband Dalton Gomez
                                                               in a throwback photo
                                                               from their wedding to
                                                               celebrate his 26th
                                                               birthday


                                                                 Call that scaled back?
                                                               Preparations continue
                                                               for Obama's birthday
                                                               bash as John Legend,
                                                               Chrissy Teigen, Dwyane
                                                               Wade and Gabrielle
                                                               Union arrive on
                                                               Martha's Vineyard

                                                                 Elon Musk's girlfriend
                                                               Grimes, 33, says it's
                                                               'time to start dressing
                                                               slutty now that I'm old'...
                                                               as she posts suggestive
                                                               snaps with her skirt
                                                               pulled up


                                                                EXCLUSIVE    Real
                                                               Housewives of
                                                               Potomac's Ashley
                                                               Darby reveals the truth
                                                               behind Wendy Osefo's
                                                               second season
                                                               transformation from
                                                               preachy professor to
                                                               sex kitten

                                                                Margot Robbie fears
                                                               she has reached the
                                                               height of her Hollywood
                                                               career and it's 'all
                                                               downhill from here'
                                                               Star says worries keep
                                                               her up at night


                                                                 The Emmys will be a
                                                               very limited affair next
                                                               month 'out of an
                                                               abundance of caution'...
                                                               after Governor's Ball
                                                               events are cancelled
                                                               'due to ongoing
                                                               concerns' amid COVID-
                                                               19 pandemic

                                                                 'My love forever grows
                                                               for you': Pierce Brosnan
                                                               pens a gushing tribute
                                                               and shares stunning
                                                               throwback snaps to
                                                               mark 20 years of
                                                               marriage to wife Keely
                                                               Shaye


                                                                Inside the $2million
                                                               mansion bought by
                                                               Kate's big brother!
                                                               James Middleton snaps
                                                               up rustic farmhouse
                                                               with French fiancée



                                                                 Nicki Minaj's husband
                                                               Kenneth Petty accepts
                                                               plea bargain for failure
                                                               to register as sex
                                                               offender over 1995
                                                               conviction of attempted
                                                               rape


                                                                 Lucy Hale shows off fit
                                                               figure in blue tie-dyed
                                                               top and black biker
                                                               shorts while going for a
                                                               solo hike in Los
                                                               Angeles



                                                                Steven Spielberg
                                                               directs Seth Rogen
                                                               along with costar
                                                               Gabriel LaBelle on set
                                                               of his new semi-
                                                               autobiographical film
                                                               The Fabelmans in LA


                                                                 Josh Duggar's
                                                               pregnant wife Anna has
                                                               'pretty much moved in'
                                                               to home where he is
                                                               under house arrest
                                                               ahead of child porn trial



                                                                 RHOSLC star Mary
                                                               Cosby charged with
                                                               'sheltering a runaway'...
                                                               but she pleads not
                                                               guilty and her rep
                                                               insists it was all a
                                                               'misunderstanding'


                                                                 Actor comedian Tony
                                                               Baker's 21-year-old son
                                                               is among three people
                                                               killed when their car is
                                                               hit by two street racers
                                                               and torn in half in Los
                                                               Angeles


                                                                 DJ Paul Johnson dies
                                                               of COVID-19 at age of
                                                               50: Iconic Chicago
                                                               house music producer
                                                               had been hospitalized
                                                               for weeks



                                                                 Megyn Kelly slams
                                                               Family Guy creator Seth
                                                               MacFarlane for tweeting
                                                               he wished his show was
                                                               not on Fox despite
                                                               making millions from
                                                               the network


                                                                 R. Kelly's lawyer asks
                                                               judge to provide new
                                                               clothes because his
                                                               client has gained weight
                                                               - and reveals disgraced
                                                               star is $2million in debt



                                                                Jamie Spears opposes
                                                               being removed as
                                                               Britney's conservator in
                                                               court documents
                                                               claiming she is so
                                                               'mentally sick', her
                                                               current conservator
                                                               considered putting her
                                                               under a psychiatric hold


                                                                 EDEN CONFIDENTIAL:
                                                               Sarah Ferguson is back
                                                               in the royal fold with an
                                                               invite to stay at
                                                               Balmoral... and she'll be
                                                               there with ex-husband,
                                                               Prince Andrew


                                                                 'They are a good
                                                               match': Sandra Lee, 55,
                                                               is dating younger beau
                                                               Ben Youcef, 42, after
                                                               split with embattled
                                                               New York Governor
                                                               Andrew Cuomo


                                                                 Sarah Jessica Parker
                                                               reunites with Chris Noth
                                                               for romantic on-set
                                                               snap from Sex And The
                                                               City revival... after
                                                               insiders claim major
                                                               character will be killed
                                                               off in first episode

                                                                 Katharine McPhee, 37,
                                                               cradles baby boy
                                                               Rennie in her arms as
                                                               she and husband David
                                                               Foster, 71, enjoy a
                                                               family lunch at Honor
                                                               Bar in Montecito


                                                                 Rihanna wears VERY
                                                               ripped shorts as she
                                                               steps out with beau
                                                               A$AP Rocky who puts a
                                                               hand on her bottom...
                                                               after being named a
                                                               billionaire


                                                                 Backstreet Boys' Brian
                                                               Littrell urges Britney
                                                               Spears to be more
                                                               'cautious' about what
                                                               she posts on Instagram
                                                               amid new claims she is
                                                               still unwell


                                                                 Beyonce puts on a
                                                               VERY sizzling display
                                                               and bares her behind in
                                                               cowboy chaps for new
                                                               Ivy Park teaser
                                                               Less than a month away
                                                               from turning 40!


                                                                 Taylor Swift confirms
                                                               Red (Taylor's Version)
                                                               30-song track list that
                                                               includes re-recordings
                                                               of hits like I Knew You
                                                               Were Trouble and a 10-
                                                               minute version of All
                                                               Too Well

                                                                 My 600lb Life star Gina
                                                               Krasley dies at age 30
                                                               just weeks after
                                                               revealing she was
                                                               suffering from a
                                                               mystery illness that had
                                                               left her completely
                                                               immobile


                                                                 RHOBH producers are
                                                               'prepared to turn over'
                                                               behind-the-scenes
                                                               footage of Erika Jayne if
                                                               'asked by the courts'
                                                               amid ex Tom Girardi's
                                                               embezzlement scandal


                                                                EXCLUSIVE     How baby
                                                               Maddox won Angelina
                                                               Jolie's heart with his big
                                                               smile in an orphanage
                                                               in Cambodia and
                                                               escaped a life on the
                                                               streets

                                                                Kathy Griffin is
                                                               enthusiastically greeted
                                                               by her four dogs as she
                                                               comes home from the
                                                               hospital after
                                                               undergoing lung cancer
                                                               surgery


                                                                 Good Trouble star
                                                               Beau Mirchoff is
                                                               engaged to his
                                                               girlfriend Jenny Meinen
                                                               after proposing in front
                                                               of the Eiffel Tower: 'The
                                                               love of my life said oui!'


                                                                 Mark Ronson will
                                                               marry Meryl Streep's
                                                               daughter Grace
                                                               Gummer in New York
                                                               this WEEKEND
                                                               British music producer is
                                                               set to have a VERY
                                                               famous mother-in-law

                                                                 The Bachelor's Cassie
                                                               Randolph goes
                                                               Instagram official with
                                                               beau Brighton
                                                               Reinhardt... after
                                                               stalking drama with ex
                                                               Colton Underwood


                                                                 Orlando Bloom
                                                               cradles his soon-to-be
                                                               1-year-old daughter
                                                               Daisy Dove as he and
                                                               fiancée Katy Perry
                                                               board luxury boat
                                                               during Capri holiday


                                                                 Stepping out of Lady
                                                               Kitty's shadow! Twins
                                                               Lady Eliza and Lady
                                                               Amelia, 29, have gone
                                                               from a low-key life in
                                                               South Africa to bursting
                                                               onto the London social
                                                               scene


                                                                New Bond baddie
                                                               Rami Malek polishes up
                                                               his tennis skills with
                                                               good friend Robert
                                                               Pattinson in Los
                                                               Angeles



                                                                 'Cousin Love': Ashlee
                                                               and Jessica Simpson
                                                               show their daughters
                                                               wearing matching
                                                               flower girl dresses at a
                                                               friend's wedding
                                                               Star siblings


                                                                 'The most wonderful
                                                               day': Spice Girl Geri
                                                               Horner reveals she
                                                               spent her 49th birthday
                                                               surrounded by family
                                                               and enjoyed horseback
                                                               ride


                                                                 Jake Gyllenhaal
                                                               shares he finds 'bathing
                                                               to be less necessary' as
                                                               he is interested in a
                                                               'world of not bathing'
                                                               Candid confessions



                                                                Minka Kelly, 41, joins
                                                               already star-studded
                                                               cast of HBO show
                                                               Euphoria for season
                                                               two
                                                               She'll play a 'jaded,
                                                               drugged out suburban
                                                               housewife'

                                                                 'It's been a wild ride!'
                                                               Meghan McCain is
                                                               joined by mom Cindy as
                                                               she tapes her FINAL
                                                               episode of The View
                                                               Spent four years hitting
                                                               headlines as the show's
                                                               conservative co-host

                                                                Hayden Panettiere
                                                               shines at her first public
                                                               event in more than TWO
                                                               YEARS after recently
                                                               reuniting with her
                                                               violent ex Brian
                                                               Hickerson


                                                                Pure class! Age-
                                                               defying Rachel Weisz,
                                                               51, looks elegant as she
                                                               walks in Manhattan in a
                                                               black suit with a bright
                                                               red scarf
                                                               Oscar winner took a
                                                               summer stroll in NYC

                                                                 Filming for White
                                                               House Plumbers
                                                               suspended while HBO
                                                               'investigates
                                                               unprofessional
                                                               behavior' on the set of
                                                               new Woody Harrelson
                                                               and Justin Theroux
                                                               series


                                                                 Will Eugenie be the
                                                               one to bring the
                                                               Sussexes back into the
                                                               fold? Cousins bonded
                                                               over 'embarrassment' of
                                                               having parents in the
                                                               public eye and now the
                                                               Princess is Meghan's
                                                               biggest royal supporter


                                                                'I guess they probably
                                                               understand more than
                                                               most!' Bridgerton's
                                                               Phoebe Dynevor says
                                                               she isn't embarrassed
                                                               her TV industry parents
                                                               watched her sex scenes


                                                                 Bella Hadid shows off
                                                               slender figure in a halter
                                                               top and black leggings
                                                               after stepping out for
                                                               breakfast in NYC
                                                               Making the sidewalk her
                                                               runway!


                                                                Alicia Vikander, 32,
                                                               shoots scenes for new
                                                               HBO series in Paris...
                                                               after husband Michael
                                                               Fassbender, 44, cradled
                                                               a mystery baby while
                                                               visiting her on set


                                                                 Britney Spears
                                                               celebrates getting her
                                                               first iPad at the age of
                                                               39 as she re-creates a
                                                               scene from
                                                               Bridesmaids: 'This is
                                                               just a groundbreaking
                                                               day'


                                                                Age-defying Kate
                                                               Beckinsale, 48, puts on
                                                               a leggy display in a
                                                               plunging black playsuit
                                                               during hilarious new
                                                               video with her pet
                                                               Pomeranian


                                                                 Chloe Sevigny wears
                                                               black jersey dress as
                                                               she takes son, Vanja,
                                                               age one, on a walk in
                                                               New York City with a
                                                               friend in tow



                                                                Jenna Dewan wears a
                                                               casual T-shirt on a stroll
                                                               with her son... after
                                                               walking back remarks
                                                               about her ex Channing
                                                               Tatum being absent
                                                               after daughter's birth


                                                                'God is good': Rihanna
                                                               reacts when asked how
                                                               she feels about her new
                                                               status as a
                                                               BILLIONAIRE
                                                               Has become a make-up
                                                               and fashion mogul


                                                                'She's truly
                                                               extraordinary': Keith
                                                               Urban gushes about his
                                                               good friend Taylor Swift
                                                               and reveals she sent
                                                               him her unreleased
                                                               songs


                                                                RHOBH star Brandi
                                                               Glanville is 'feeling so
                                                               much better' after being
                                                               hospitalized with a
                                                               spider bite
                                                               Rushed in for treatment
                                                               after being bitten on the
                                                               hand

                                                                 'You came here to
                                                               show that you're still in
                                                               love with me': Kanye
                                                               appears to rap to Kim
                                                               Kardashian at Donda
                                                               event where exes match
                                                               outfits AGAIN


                                                                 Lori Harvey rocks a
                                                               fitted maxi dress and
                                                               sandals for some retail
                                                               therapy in Beverly Hills
                                                               Lori looks sensational in
                                                               a skintight dress



                                                                Meg Ryan, 59, looks
                                                               sensational as she
                                                               soaks up the sun on
                                                               beach trip with a pal in
                                                               Malibu
                                                               America's sweetheart!



                                                                Stepping out from
                                                               behind The Boss: Bruce
                                                               Springsteen's daughter
                                                               Jessica and Team USA
                                                               qualify for Olympic
                                                               equestrian final



                                                                 Stranger Things
                                                               season four will debut
                                                               in 2022 as new footage
                                                               shows the monster and
                                                               clock for highly
                                                               anticipated return of the
                                                               Netflix show


                                                                 Erika Jayne feels
                                                               'betrayed' by producers
                                                               on The Real
                                                               Housewives of Beverly
                                                               Hills over THAT Garcelle
                                                               Beauvais argument



                                                                EXCLUSIVE     Pre-party
                                                               putt! Barack Obama is
                                                               seen playing a round of
                                                               golf with three buddies
                                                               ahead of his 60th
                                                               birthday bash on
                                                               Saturday


                                                                Britney Spears wants
                                                               new conservator to
                                                               AUDIT her father Jamie
                                                               and 'put him under the
                                                               microscope' to see if he
                                                               mishandled her $60M
                                                               estate


                                                                 Irina Shayk poses
                                                               TOPLESS in a black
                                                               thong...after it was
                                                               confirmed she and
                                                               Kanye West are 'very
                                                               much still dating'



                                                                 From growing up in a
                                                               refugee camp to
                                                               running Vogue
                                                               Scandinavia: New
                                                               fashion bible editor
                                                               Rawdah Mohamed
                                                               insists she 'isn't a token
                                                               hire'


                                                                 US soccer star Alex
                                                               Morgan insists the team
                                                               is still 'hanging out on
                                                               top' as 'number one' in
                                                               the world despite
                                                               humiliating semi-final
                                                               loss to Canada


                                                                 Kate Middleton is
                                                               'honored' as her
                                                               touching portraits of
                                                               Holocaust survivors
                                                               and their families are
                                                               included in new Imperial
                                                               War Museum
                                                               photography exhibition


                                                                 Paris Jackson, 23,
                                                               joins couple Ashlee
                                                               Simpson, 36 and Evan
                                                               Ross, 32, as they put on
                                                               a stylish display at Paris
                                                               Hilton's cooking show
                                                               screening in LA


                                                                 Steve Irwin's 'hot
                                                               niece' Rebecca Lobie
                                                               turns up the heat as she
                                                               puts on a busty display
                                                               in a tiny string bikini
                                                               Crikey!



                                                                 Rebel Wilson nails
                                                               Riviera chic as she
                                                               showcases her svelte
                                                               frame in a breton
                                                               striped top and fedora
                                                               while sight-seeing on
                                                               her Italian getaway


                                                                Heavily pregnant
                                                               Teresa Palmer reveals
                                                               she has been
                                                               breastfeeding for
                                                               SEVEN YEARS straight
                                                               as she prepares to
                                                               welcome her fourth
                                                               child


                                                                Nick Jonas, 28, and
                                                               Priyanka Chopra, 39,
                                                               put on a stylish display
                                                               as they emerge from a
                                                               London casino in the
                                                               early hours of the
                                                               morning


                                                                 Demi Rose leaves
                                                               VERY little to the
                                                               imagination as she
                                                               showcases her jaw-
                                                               dropping assets in a
                                                               daring cut-away gown
                                                               at the launch of her
                                                               fashion line


                                                                 Kat Graham glows in a
                                                               lustrous teal dress as
                                                               she supports Paris
                                                               Hilton at a special
                                                               screening of her new
                                                               Netflix series Cooking
                                                               With Paris


                                                                 'Things are way better
                                                               than I ever anticipated':
                                                               Britney Spears gives
                                                               fans a positive update
                                                               on her conservatorship
                                                               battle in series of social
                                                               media posts


                                                                 Ginger Spice turns 49!
                                                               Spice Girls' Mel C and
                                                               Emma Bunton share
                                                               throwback snaps and
                                                               gushing messages to
                                                               honour the 'one and
                                                               only' Geri Horner's
                                                               birthday


                                                                Nicole Scherzinger
                                                               sets pulses racing in a
                                                                                                              cleavage-baring cut-out
                                                 Case 1:21-cr-00035-RC Document 102-17 Filed 08/23/21 Page 5 ofsilver
                                                                                                                5     dress as she
                                                                                                              leaves The Masked
                                                                                                              Singer filming



                                                                                                                             'Never a dull moment
                                                                                                                            with you!' Heidi Klum,
                                                                                                                            48, packs on the PDA
                                                                                                                            with husband Tom
                                                                                                                            Kaulitz, 32, on yacht in
                                                                                                                            Capri



                                                                                                                             Is this a new Love,
                                                                                                                            Actually? Thomas
                                                                                                                            Brodie-Sangster, 31,
                                                                                                                            puts on a giddy display
                                                                                                                            while holding hands
                                                                                                                            with Pistols co-star
                                                                                                                            Talulah Riley in London


                                                                                                                             Tinashe turns heads in
                                                                                                                            a bright yellow
                                                                                                                            ensemble after
                                                                                                                            celebrating the launch
                                                                                                                            of her new album at
                                                                                                                            Craig's in West
                                                                                                                            Hollywood


                                                                                                                             Red hot! Carmen
                                                                                                                            Electra, 49, steals the
                                                                                                                            show in an eye-catching
                                                                                                                            gown at Marcel Remus'
                                                                                                                            charity night in Mallorca
                                                                                                                            Former Baywatch star



                                                                                                                              Clint Eastwood, 91,
                                                                                                                            returns to the big
                                                                                                                            screen for the first time
                                                                                                                            in three years in the first
                                                                                                                            trailer for his new movie
                                                                                                                            Cry Macho
                                                                                                                             Hollywood icon


                                                                                                                             Channing Tatum and
                                                                                                                            Jenna Dewan absorb
                                                                                                                            $75K loss on sale of
                                                                                                                            $5.9M Beverly Hills
                                                                                                                            mansion they formerly
                                                                                                                            shared



                                                                                                                              Pirelli Calendar 2022:
                                                                                                                            Rita Ora poses naked in
                                                                                                                            the bath - wearing
                                                                                                                            nothing but heels - for
                                                                                                                            artistic black and white
                                                                                                                            photograph shot by
                                                                                                                            Bryan Adams


                                                                                                                             Vanessa Hudgens
                                                                                                                            goes braless beneath a
                                                                                                                            sizzling sheer gown as
                                                                                                                            she snaps selfies and
                                                                                                                            dances the night away
                                                                                                                            during Capri getaway



                                                                                                                              Kanye West 'ascends
                                                                                                                            into heaven' as he
                                                                                                                            premieres Donda for
                                                                                                                            SECOND TIME at
                                                                                                                            stadium in Atlanta... as
                                                                                                                            he is supported by
                                                                                                                            estranged wife Kim


                                                                                                                             EXCLUSIVE     Caitlyn
                                                                                                                            Jenner and Thomas
                                                                                                                            Markle Jr. enter the
                                                                                                                            Australian Big Brother
                                                                                                                            VIP house in Sydney
                                                                                                                            ahead of appearance on
                                                                                                                            show


                                                                                                                              Inside Winnie Harlow's
                                                                                                                            birthday bash: Model
                                                                                                                            celebrates turning 27
                                                                                                                            with star-studded guest
                                                                                                                            list including Lil Wayne
                                                                                                                            and Trey Songz in Los
                                                                                                                            Angeles


                                                                                                                             EXCLUSIVE    Real
                                                                                                                            Housewives of
                                                                                                                            Potomac's Ashley
                                                                                                                            Darby says her husband
                                                                                                                            Michael's Australian
                                                                                                                            family STILL haven't
                                                                                                                            met their two boys due
                                                                                                                            to coronavirus travel
                                                                                                                            restrictions


                                                                                                                              Sofia Richie models
                                                                                                                            flowing beige trousers
                                                                                                                            as she steps out for a
                                                                                                                            spot of retail therapy in
                                                                                                                            Beverly Hills




                                                                                                                              Kanye West's children
                                                                                                                            get in some playtime as
                                                                                                                            they attend SECOND
                                                                                                                            Donda listening party in
                                                                                                                            Atlanta with mom Kim
                                                                                                                            Kardashian



                                                                                                                             Christine Quinn
                                                                                                                            showcases her post-
                                                                                                                            partum figure in a red
                                                                                                                            bikini top as she cradles
                                                                                                                            son Christian, two
                                                                                                                            months, in sweet snaps
                                                                                                                            during Sicily break


                                                                                                                              Kaia Gerber flashes
                                                                                                                            her abs in cropped blue
                                                                                                                            shirt as she grabs an
                                                                                                                            iced coffee in LA before
                                                                                                                            heading to work on the
                                                                                                                            set of American Horror
                                                                                                                            Story


                                                                                                                             Rachel Bilson reveals
                                                                                                                            she was approached to
                                                                                                                            star in The Hills: New
                                                                                                                            Beginnings before her
                                                                                                                            The O.C. co-star Mischa
                                                                                                                            Barton was cast



                                                                                                                             Nicki Minaj refutes
                                                                                                                            Jessie J's claim as she
                                                                                                                            says she never asked to
                                                                                                                            be on hit collab Bang
                                                                                                                            Bang with Ariana
                                                                                                                            Grande



                                                                                                                              Pink is a dream in
                                                                                                                            tangerine maxi dress
                                                                                                                            with gold platform heels
                                                                                                                            as she treats her kids to
                                                                                                                            dinner at Soho House in
                                                                                                                            Malibu



                                                                                                                              REVEALED: History of
                                                                                                                            sexual harassment and
                                                                                                                            discrimination lawsuits
                                                                                                                            against Jeopardy! host
                                                                                                                            frontrunner Mike
                                                                                                                            Richards and show
                                                                                                                            Executive Producer who
                                                                                                                            is the frontrunner to
                                                                                                                            replace Alex Trebek




                                                                                                                                                                        LIVE TOP
                                                                                                                                                                        STORIES


                                                                                                                              TOP STORIES       SHOWBIZ       SPORT      NEW YORK


                                                                                                                                              The Biden Blowout Is Just
                                                                                                                                              Beginning
                                                                                                                                                 National Review · 5hrs
                                                                                                                                                                    See ago
                                                                                                                                                                        more versions


                                                                                                                                              Marjorie Taylor Greene suspended
                                                                                                                                              from Twitter for a week after…
                                                                                                                                              claiming  vaccines
                                                                                                                                                 The Independent    aremore
                                                                                                                                                                 · See
                                                                                                                                                                   3hrs  ‘failing’
                                                                                                                                                                        ago  versions


                                                                                                                                              Jessica Maiolo removed from
                                                                                                                                              Team USA Paintball after 'fat-…
                                                                                                                                              shaming'
                                                                                                                                               BREAKINGteen hospitalized
                                                                                                                                                                MailOnline    with
                                                                                                                                                                   See more versions
                                                                                                                                              COVID-19
                                                                                                                                              Former fed prosecutor recalls
                                                                                                                                              Cuomo efforts to thwart…
                                                                                                                                              corruption
                                                                                                                                                 Fox News ·probe:   'Hemore
                                                                                                                                                            24minsSee
                                                                                                                                                                    ago  obstructed,
                                                                                                                                                                            versions
                                                                                                                                              he lied, he bullied'
                                                                                                                                              Prince Andrew Lawsuit Over
                                                                                                                                              Jeffrey Epstein Is 'Game Over' f…
                                                                                                                                              Queen's   Son,
                                                                                                                                                 Newsweek     Lawyer
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